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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Plaintiff,

Vv. Civil Action No. 04-0798 (PLF)
ALL ASSETS HELD AT BANK JULIUS
Baer & Company, Ltd., Guernsey
Branch, account number 121128, in the
Name of Pavlo Lazarenko et al.,

Defendants In Rem.

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ORDER

On August 29, 2024, the Court granted the government’s unopposed motion to
modifying the Court’s restraining order to allow the repatriation of funds held at the Bank Julius
Baer (“BJB Account”) in Guernsey. See Order [Dkt. No. 1515]. In that motion, the government
stated that “[o]nce the BJB Account is transferred to the [Seized Asset Deposit Fund of the
United States Department of Justice], the United States intends to file a motion to voluntarily
dismiss the BJB Account and the other remaining defendant assets that have not been defaulted
in this matter, which have been dissipated.” United States’ Amended Motion to Modify
Restraining Order to Allow Repatriation of Funds Held at Bank Julius Baer in Guernsey [Dkt.
No. 1514] at 3 n.2. The government further stated that “[i]f the Court dismisses the remaining
assets, final judgment may be entered in this matter.” Id.

Given that it has almost been a year since the Court was last apprised of the status

of the asset transfer, it is hereby
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ORDERED that the parties shall file a joint status report on or before July 14,
2025. The joint status report shall address the following: (1) whether the government still
“intends to file a motion to voluntarily dismiss the BJB Account and the other remaining
defendant assets that have not been defaulted in this matter;” (2) whether the government’s
expected motion will render Claimant Pavel Lazarenko’s remaining pending motions moot, see
Claimant Pavel Lazarenko’s Motion for Partial Summary Judgment Regarding the “Unknown
Payments” [Dkt. No. 426]; Claimant Pavel Lazarenko’s Motion for Summary Judgment on the
Bank Julius Baer Guernsey Account [Dkt. No. 1257]; (3) when the government anticipates filing

this motion; and (4) whether the Court may enter final judgment if it grants the motion.

PAUL L. FRIEDMAN
United States District Judge

SO ORDERED.

DATE:

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